                Case 2:16-cr-00025-TLN Document 209 Filed 01/12/18 Page 1 of 2



 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. Kellogg, #271250
 2   400 Capitol Mall, Suite 1620
     Sacramento, California 95814
 3
     Telephone: (916) 422-4022
 4
 5                         IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                    )
 8   UNITED STATES OF AMERICA,                      )   Case No.: 2:16-cr-00025-TLN
 9             Plaintiff,                           )
                                                    )   STIPULATION AND ORDER
10          v.                                      )   CONTINUANCE OF JUDGMENT AND
                                                    )   SENTENCING
11   JORGE VEGA-MACIAS,                             )
              Defendant.                            )
12                                                  )
13                                                  )

14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15
     Judgment and Sentencing scheduled for February 22, 2018, is continued to May 10,
16
     2018, at 9:30 a.m. in the same courtroom. Defendant needs additional time to prepare
17
     for sentencing. Justin Lee, Assistant United States Attorney, and Thomas A. Johnson,
18
     Defendant’s attorney, agree to this continuance. The PSR schedule is to be amended as
19
     follows:
20
21   Judgment and Sentencing date:                             May 10, 2018
22
23   Reply or Statement                                        May 3, 2018

24   Motion for Correction of the Pre-Sentence
     Report shall be filed with the court and                  April 26, 2018
25   served on the Probation Officer and opposing
26   counsel no later than:

27   The Pre-Sentence Report shall be filed with
     the court and disclosed to counsel no later               April 19, 2018
28   than:


                                                                                             1
              Case 2:16-cr-00025-TLN Document 209 Filed 01/12/18 Page 2 of 2



 1
     Counsel’s written objections to the Pre-
 2   Sentence Report shall be delivered to the            April 5, 2018
     Probation Officer and opposing counsel
 3   no later than:
 4
 5   IT IS SO STIPULATED.
 6
 7   Dated: January 9, 2018                               /s/ Thomas A. Johnson
                                                          THOMAS A. JOHNSON
 8                                                        Attorney for Jorge Vega-Macias
 9
10                                                        McGREGOR SCOTT
                                                          United States Attorney
11
12   Dated: January 9, 2018                               /s/ Justin Lee
                                                          JUSTIN LEE
13
                                                          Assistant U.S. Attorney
14
15                                               ORDER
16
17   IT IS SO ORDERED.
18
19   DATED: January 11, 2018                             Troy L. Nunley
20                                                       United States District Judge
21
22
23
24
25
26
27
28


                                                                                           2
